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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF FLORIDA
                            PENSACOLA DIVISION
UNITED STATES OF AMERICA

      VS                                                    CASE NO. 3:05cr6-01/RV

KENDALL IVAN BROWN

                               REFERRAL AND ORDER

Referred to Senior Judge Roger Vinson on April 17, 2009
Motion/Pleadings: Motion to Reduce Sentence (re Retroactive Application of Sentencing
Guidelines to Crack Cocaine Offense 18 USC 3582)
Filed by Defendant                       on 3/25/2008          Doc.#       55
RESPONSES:
                                         on                    Doc.#
                                         on                    Doc.#
        Stipulated           Joint Pldg.
        Unopposed            Consented
                                         WILLIAM M. McCOOL, CLERK OF COURT

                                           s/Jerry Marbut
LC (1 OR 2)                              Deputy Clerk: Jerry Marbut

                                      ORDER
Upon consideration of the foregoing, it is ORDERED this           17th      day of
   April                     , 2009, that:
(a) The relief requested is DENIED.
(b) The Defendant is not eligible for a sentence reduction under Amendments
706 and 711.
(c)The amendments do not affect the Defendant’s sentencing guideline range.


                                         /s/ Roger Vinson
                                         Roger Vinson
                                         Senior United States District Judge
